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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                  WEST PALM BEACH DIVISION

                                                )   Case No: _________________
                                                )
                                                )
                                                    COMPLAINT FOR:
                                                )
                                                )   1. FEDERAL COUNTERFEITING (15
   FERRARA CANDY COMPANY,                       )      U.S.C. § 1114);
                                                )   2. FEDERAL TRADEMARK
                       Plaintiff,               )      INFRINGEMENT (15 U.S.C. § 1114);
                                                )   3. FEDERAL UNFAIR COMPETITION (15
                                                )      U.S.C. § 1125);
             vs.                                )   4. FEDERAL TRADEMARK DILUTION (15
                                                )      U.S.C. § 1125);
   AKIMOV, LLC d/b/a TOP FIVE                   )   5. FEDERAL TRADE DRESS
   WHOLESALE,                                   )      INFRINGEMENT(15 U.S.C. § 1125);
                                                )   6. FEDERAL TRADE DRESS
                       Defendant.               )      INFRINGEMENT(15 U.S.C. § 1114);
                                                )   7. FLORIDA TRADEMARK DILUTION
                                                )      (Fla. Sta. § 495.151);
                                                )   8. FLORIDA DECEPTIVE AND UNFAIR
                                                )      TRADE PRACTICES ACT (§ 501.201 et
                                                )      seq.); and
                                                )   9. FLORIDA UNFAIR COMPETITION.
                                                )

                                            COMPLAINT

         This is an action for counterfeiting, trademark infringement, unfair competition, dilution,

  and trade dress infringement in violation of federal and Florida state law.

                                              PARTIES

        1.         Plaintiff Ferrara Candy Company is an Illinois corporation, having offices at 404

  West Harrison Street, Chicago, Illinois 60607 (“Ferrara”).

        2.         Defendant Akimov, LLC is a Florida limited liability company, doing business as

  Top Five Wholesale, having offices at 6760 Congress Ave., Apt. 410, Boca Raton, Florida 33487

  (“Akimov”).
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                                   JURISDICTION AND VENUE

          3.     This Court has jurisdiction because (1) this is an action arising under the Trademark

  Act of 1946, as amended, 15 U.S.C. §§ 1051, et seq. (the Lanham Act), jurisdiction being conferred

  in accordance with 15 U.S.C. § 1121 and 28 U.S.C. §§ 1331, 1338, and 1367; and (2) this is a civil

  action between a citizen of Florida on one side and a citizen of Illinois on the other side, in which

  the value of the amount in controversy exceeds seventy-five thousand dollars ($75,000.00),

  exclusive of interest and costs, jurisdiction being conferred in accordance with 28 U.S.C. § 1332.

  Jurisdiction for the claims made under Florida state law is conferred in accordance with the

  principles of supplemental jurisdiction pursuant to 28 U.S.C. § 1367(a).

          4.     Venue is proper in this district under 28 U.S.C. § 1391(b) because a substantial part

  of the events giving rise to the claims alleged herein occurred in this district, and under 28 U.S.C.

  § 1391(c) because Akimov is subject to this Court’s personal jurisdiction for purposes of this

  case.

                                    FACTS
                  FERRARA’S PRODUCTS AND FAMOUS TRADEMARKS

          5.     Ferrara is a recognized global leader in confections, and, together with its affiliates,

  makes, distributes, markets, and sells throughout the United States numerous well-known,

  distinctive, and famous candy products, including under the NERDS and TROLLI brands.

          6.     The NERDS and TROLLI candy brands have achieved enormous commercial

  success as reflected by their extensive sales, which have been supported by significant marketing

  and promotional campaigns throughout the United States, including in Florida.

                       Ferrara’s Famous NERDS Marks and Trade Dress

          7.     Since the 1980s, Ferrara has manufactured, marketed, and sold NERDS candy

  products, in different flavors and style variations, under the famous NERDS mark and NERDS
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  trade dress. The trade dress differs slightly across the different products, but consistently

  features, among other things, (a) the word mark NERDS in block, slanted lettering, with a capital

  “R” that appears to be falling, (b) in front of a predominantly blue cloud, (c) with character

  versions of the NERDS candies playing on the package, and (d) images of the candy itself on

  the bottom right-hand corner of the package (the “NERDS Trade Dress”).

         8.     Currently, Ferrara manufactures, markets and sells four lines of NERDS products:

  NERDS candy; BIG CHEWY NERDS candy; NERDS ROPE candy; and its latest, NERDS

  GUMMY CLUSTERS candy, which all incorporate the NERDS Trade Dress. Representative

  images of these products appear below:




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        9.     Ferrara owns, among many others, the following federal trademark registrations

  issued by the United States Patent and Trademark Office for the NERDS Marks used on NERDS

  candy packaging:

                                                                          RELEVANT
             MARK                REG. NO.            REG. DATE
                                                                           GOODS

             NERDS               2,209,131         December 8, 1998   Candy



                                 4,400,174         September 10, 2013 Candy

                                 4,400,153         September 10, 2013 Candy




                                 4,414,355          October 8, 2013   Candy




                                 6,570,731         November 23, 2021 Candy




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                                    6,556,724          November 9, 2021    Candy



                                    6,556,722          November 9, 2021    Candy



                                    6,603,978          December 28, 2021   Candy




         10.     These registrations are valid and subsisting. All of these registrations (with the

  exception of Reg. Nos. 6,570,731; 6,556,724; 6,556,722; and 6,603,978) are incontestable and

  constitute conclusive evidence of Ferrara’s exclusive right to use the NERDS Marks for the goods

  specified in the registrations. 15 U.S.C. §§ 1065, 1115(b). The marks shown in these federal

  registrations, combined with the common-law trademark rights in NERDS, are hereinafter

  collectively referred to as the “NERDS Marks.”

         11.     Ferrara has manufactured, advertised, and sold an elongated rope-like form

  attached to which are numerous multi-colored small nuggets of candy since at least as early as

  January 2001. Ferrara also owns a registration on the Supplemental Register for its rope-like

  cluster of sugared candy (the “NERDS ROPE Trade Dress”), as shown below:

                                                                               RELEVANT
               MARK                REG. NO.              REG. DATE
                                                                                GOODS

                                    2,920,232           January 18, 2005   Candy




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                      Ferrara’s Famous TROLLI Marks and Trade Dress

         12.    Ferrara and its predecessors have long marketed, distributed, and sold candy and

  related products under the famous TROLLI marks and trade dress. The trade dress features, among

  other things, (a) the word mark TROLLI in stylized, slanted white bubble lettering with a pink

  inner outline and a black outer outline, (b) the flavor of the TROLLI candies written in bubble

  letters underneath the “TROLLI” name, (c) a window-like shape with pictures of the candies

  inside, and (d) black on the top and the bottom of the packaging (hereinafter, the “TROLLI Trade

  Dress”).

         13.    Ferrara currently markets and sells several lines of TROLLI products: TROLLI

  CRAWLERS candy; TROLLI unique shape candy (such as Watermelon Sharks, Strawberry Puffs,

  and Octopus); and TROLLI classic shape candy (such as PeachieO’s and AppleO’s).

  Representative images of some of these products appear below.




         14.    Since long prior to Akimov’s acts complained of herein, Ferrara has made

  continuous use of the TROLLI trademarks and TROLLI Trade Dress in connection with candy

  products.

         15.    Ferrara owns, among many others, the following federal trademark registrations

  issued by the United States Patent and Trademark Office for TROLLI marks:


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           MARK              REG. NO.           REG. DATE              RELEVANT GOODS
          TROLLI             1,285,440          July 10, 1984                   Candy

          TROLLI             2,146,247         March 24, 1998                   Candy
        SQUIGGLES

    TROLLI OCTOPUS           2,140,787         March 3, 1998                    Candy

        TROLLI               2,140,788         March 3, 1998                    Candy
     CATERPILLARS

      TROLLI SODA            3,976,070          June 7, 2011                    Candy
        POPPERS

    TROLLI EXTREME           4,709,231         March 24, 2015                   Candy
      SOUR BRITES

       TROLLI SOUR           4,941,337          April 9, 2016                   Candy
          BRITE

          TROLLI             5,004,764          July 19, 2016                 Lip balm

          TROLLI             5,445,125         April 10, 2018            Backpacks; Apparel;
                                                                         Ornamental patches

          TROLLI             5,618,982       November 27, 2018          Key chains; Clothing;
                                                                       Ornamental novelty pins



         16.    These registrations are valid and subsisting. All of these registrations (with the

  exception of Reg. Nos. 4,941,337; 5,004,764; 5,445,125; and 5,618,982) are incontestable and

  constitute conclusive evidence of Ferrara’s exclusive right to use the TROLLI Marks for the goods

  specified in the registrations. 15 U.S.C. §§ 1065, 1115(b). The marks shown in these federal

  registrations, combined with the common-law trademark rights in TROLLI, are hereinafter

  collectively referred to as the “TROLLI Marks.”




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                   The Famous Ferrara Trademarks and Ferrara Trade Dress

         17.     Ferrara is the exclusive owner of the NERDS Marks and TROLLI Marks

  (collectively, the “Ferrara Trademarks”) and the NERDS Trade Dress and TROLLI Trade Dress

  (collectively, the “Ferrara Trade Dress”) and the NERDS ROPE Trade Dress and all of their related

  goodwill throughout the United States.

         18.     Ferrara has marketed candy products bearing the Ferrara Trademarks and Ferrara

  Trade Dress to parents as a fun and enjoyable treat for children of all ages. Therefore, Ferrara

  would never condone or authorize the use of the Ferrara Trademarks and Ferrara Trade Dress in

  connection with products that could be harmful to children.

         19.     The Ferrara Trademarks and Ferrara Trade Dress are strong and distinctive marks

  that are immediately recognized by the public as brand indicators of, and associated with, Ferrara’s

  products.

         20.     As a result of Ferrara’s extensive sales, promotion, and advertising of candy

  products under the Ferrara Trademarks and Ferrara Trade Dress, they have become famous among

  the general consuming public of the United States, and represent an extraordinarily valuable

  goodwill owned by Ferrara.

       AKIMOV’S UNAUTHORIZED USE OF THE FERRARA TRADEMARKS AND
            FERRARA TRADE DRESS WITH THC-INFUSED PRODUCTS

         21.     Akimov is engaged in the manufacturing, marketing, sale, and distribution of THC-

  infused candy products in packaging that bears the Ferrara Trademarks, the Ferrara Trade Dress,

  and the NERDS ROPE Trade Dress, or simulations thereof (“Counterfeit Products”), and in doing

  so is endangering consumers’ well-being.

         22.     As of the date of this filing, Akimov is offering at least seven types of Counterfeit

  Products via its website located at https://topfivewholesale.com/, among other means, to
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  consumers throughout the United States, including Florida: (1) “Delta-8 Nerds Rope” (sold in six

  flavors: Blueberry, Grape, Strawberry, Watermelon, Lemonade Wild Cherry, and Cherry); (2)

  “Errlli Sour Terp Crawlers Very Berry 600mg”; (3) “Trrlli Strawberry Puffs 600mg”; (4) “Errlli

  Sour Brite Twisted Crawlers 600mg”; (5) “Errlli Sour Glow Worms 600mg”; (6) “THC-0 Apple

  Rings (300mg THC –0; 300mg Delta-8)”; and (7) “THC-0 Peachio’s (300mg THC –0; 300mg

  Delta-8).” Images of these Counterfeit Products from Akimov’s website are shown below.




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        23.    The Medicated Nerds Rope packaging is highly similar to the packaging used by

  Ferrara for its NERDS ROPE candies, as shown below:




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                                             Ferrara’s Product




                                             Akimov’s Product




         24.    As shown in the comparison below, Defendants’ “Medicated Nerds Rope” candy

  is highly similar to Ferrara’s registered trade dress for its NERDS ROPE candy:

               Ferrara’s Product                              Defendants’ Product




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         25.    Akimov also is using packaging nearly identical to genuine packaging for TROLLI

  candy for their “THC-0 Apple Rings” Counterfeit Product:

               Ferrara’s Product                             Defendant’s Product




         26.    Akimov also has used simulations of the TROLLI mark: “Errlli” and “Trrlli” to

  market THC-infused TROLLI candy, as shown below:




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         27.    As shown in the comparison below, Akimov’s “Errlli” and “Trrlli” packaging is

  highly similar to the packaging used by Ferrara for its TROLLI candies:



                Ferrara’s Product                               Akimov’s Product




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         28.      Unsurprisingly, consumers are likely to be and, on information and belief, actually

  have been confused as to the source of Akimov’s Counterfeit Products and have been led to

  believe, mistakenly, that Akimov’s Counterfeit Products are authorized, endorsed by, or affiliated

  with Ferrara.

         29.      Akimov knowingly and willfully uses variations on the names and packaging of

  Ferrara’s famous candy products, including as shown above, to trade upon the goodwill in the

  Ferrara Trademarks and Ferrara Trade Dress to give the Counterfeit Products a salability they

  would not otherwise have.

         30.      Ferrara does not produce, distribute, or sell any candy products containing

  THC/cannabis, nor has it authorized any other entity, including Akimov, to do so.

         31.      Ferrara has not consented, and never would consent, to such uses of the Ferrara

  Trademarks and Ferrara Trade Dress, and, in fact, is actively enforcing its marks against such uses

  to protect consumers from inadvertent consumption of THC.

         32.      Furthermore, as shown above, Akimov has infused its Counterfeit Products with

  large amounts of THC – as much as 600 milligrams – more than 60 adult servings. The sale of

  these Counterfeit Products thus poses a health hazard to the consuming public, especially children.

         33.      Indeed, states across the United States have recognized the hazard posed by

  cannabis products that are designed to appeal to children or that are packaged to look like popular

  candy or grocery items, and have enacted statutes restricting how such products may be labeled

  and packaged. In fact, the sale of marijuana in Florida for recreational purposes, or to someone

  without a medical marijuana card, is considered “unlicensed activity” and can qualify as a felony.

  2021 Fla. Sta. 381.986 (13).




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                              FIRST CLAIM FOR RELIEF
                   COUNTERFEITING OF THE FERRARA TRADEMARKS
                  (IN VIOLATION OF SECTION 32 OF THE LANHAM ACT)

           34.   Ferrara re-alleges paragraphs 1 through 33 as if fully set forth herein.

           35.   Ferrara owns exclusive, registered rights in and to the Ferrara Trademarks for

  candy.

           36.   Akimov manufactures, markets, sells, and distributes edible THC-infused candy

  bearing the identical Ferrara Trademarks, and Akimov’s use of those marks in association with

  candies constitutes trademark counterfeiting in violation of 15 U.S.C. § 1114.

           37.   Akimov’s use of the counterfeit marks for its cannabis-infused candy products is

  likely to cause confusion, mistake, or deception as to source, affiliation, or sponsorship of

  Akimov’s candy.

           38.   The imitation, copying, and unauthorized use of the Ferrara Trademarks causes

  irreparable injury to Ferrara, including injury to its business reputation and the goodwill associated

  with these marks.

           39.   Akimov has used the Ferrara Trademarks for its counterfeit products with full

  knowledge of, and in willful disregard of Ferrara’s rights in these trademarks, and with the intent

  to obtain a commercial advantage that Akimov would otherwise not have. Akimov’s acts greatly

  and irreparably damage Ferrara and will continue to so damage Ferrara unless restrained by this

  Court; wherefore, Ferrara is without an adequate remedy at law.

                                  SECOND CLAIM FOR RELIEF
                                 TRADEMARK INFRINGEMENT
                      (IN VIOLATION OF SECTION 32 OF THE LANHAM ACT)

           40.   Ferrara re-alleges paragraphs 1 through 33 as if fully set forth herein.




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            41.   Without Ferrara’s consent, Akimov has used the Ferrara Trademarks, including

  imitations of the TROLLI Marks, in commerce in connection with the manufacturing, marketing,

  sale, and distribution of candy infused with THC. These acts have caused or are likely to cause

  confusion, mistake, or deception as to the source of origin, sponsorship, or approval of the

  Counterfeit Products that Akimov sells, in that purchasers and others are likely to believe Ferrara

  authorizes and controls Akimov’s sale of cannabis-infused candy products in the United States or

  that Akimov is associated with or related to Ferrara.

            42.   Akimov’s acts are likely to injure and, on information and belief, have injured

  Ferrara’s image and reputation with consumers in the United States by creating confusion about

  the source of the Counterfeit Products, and dissatisfaction with Ferrara.

            43.   Akimov’s acts are likely to injure and, on information and belief, have injured

  Ferrara’s business reputation and relations with retail accounts in the United States by causing

  customer dissatisfaction, a diminution in value of the goodwill associated with the Ferrara

  Trademarks, and a loss of Ferrara’s sales and market share to its competition.

            44.   Akimov’s acts constitute an infringement of Ferrara’s trademark rights in violation

  of Section 32 of the Lanham Act, 15 U.S.C. § 1114.

            45.   Akimov’s acts greatly and irreparably damage Ferrara and will continue to so

  damage Ferrara unless restrained by this Court; wherefore, Ferrara is without an adequate remedy

  at law.

                                 THIRD CLAIM FOR RELIEF
                                   UNFAIR COMPETITION
                    (IN VIOLATION OF SECTION 43(a) OF THE LANHAM ACT)

            46.   Ferrara re-alleges paragraphs 1 through 33 as if fully set forth herein.




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            47.   Without Ferrara’s consent, Akimov has used the Ferrara Trademarks, including

  imitations of the TROLLI Marks, as well as the Ferrara Trade Dress associated with these products,

  in commerce in connection with the manufacturing, marketing, sale, and distribution of candy

  infused with THC. These acts have caused or are likely to cause confusion, mistake, or deception

  as to the source of origin, sponsorship, or approval of the Counterfeit Products that Akimov sells,

  in that purchasers and others are likely to believe Ferrara authorizes and controls Akimov’s sale

  of THC-infused candy products in the United States or that Akimov is associated with or related

  to Ferrara.

            48.   On information and belief, Akimov’s manufacturing, marketing, sale, and

  distribution of the Counterfeit Products have been committed deliberately and willfully, with

  knowledge of Ferrara’s exclusive rights and goodwill in the Ferrara Trademarks and with a bad

  faith intent to cause confusion and trade on Ferrara’s goodwill.

            49.   Akimov’s acts constitute unfair competition in violation of Section 43(a) of the

  Lanham Act, 15 U.S.C. § 1125(a).

            50.   Akimov’s acts greatly and irreparably damage Ferrara and will continue to so

  damage Ferrara unless restrained by this Court; wherefore, Ferrara is without an adequate remedy

  at law.

                            FOURTH CLAIM FOR RELIEF DILUTION
                    (IN VIOLATION OF SECTION 43(c) OF THE LANHAM ACT)

            51.   Ferrara re-alleges paragraphs 1 through 33 as if fully set forth herein.

            52.   The Ferrara Trademarks are inherently distinctive, famous, and are widely

  recognized by the general consuming public of the United States as a designation of source of

  Ferrara’s candy products.



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            53.   Akimov’s acts as described herein began after the Ferrara Trademarks became

  famous.

            54.   Akimov’s acts are likely to cause and have caused dilution by tarnishment and

  blurring of the famous Ferrara Trademarks in violation of Section 43(c) of the Lanham Act, 15

  U.S.C. § 1125(c).

            55.   On information and belief, Akimov’s manufacturing, marketing, sale, and

  distribution of the Counterfeit Products bearing the Ferrara Trademarks in the United States have

  been committed deliberately and willfully, with knowledge of Ferrara’s exclusive rights and

  goodwill in the Ferrara Trademarks and with a bad faith intent to cause dilution of the Ferrara

  Trademarks.

            56.   Akimov’s acts greatly and irreparably damage Ferrara and will continue to so

  damage Ferrara unless restrained by this Court; wherefore, Ferrara is without an adequate remedy

  at law.

                                   FIFTH CLAIM FOR RELIEF
                                 TRADE DRESS INFRINGEMENT
                               (IN VIOLATION OF 15 U.S.C. § 1125)

            57.   Ferrara re-alleges paragraphs 1 through 33 as if fully set forth herein.

            58.   For years, Ferrara has owned protectable rights in the Ferrara Trade Dress, which

  is inherently distinctive and not functional.

            59.   Prior to Akimov’s conduct that forms the basis for this Complaint, consumers had

  come to associate the distinctive “look and feel” of the packaging for the candies sold under the

  Ferrara Trademarks with the Ferrara Trade Dress.




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            60.   Without Ferrara’s consent or authorization, Akimov has manufactured, marketed,

  sold, and distributed the Counterfeit Products in packaging that bears imitations of the Ferrara

  Trade Dress in the United States, including through its website.

            61.   The colors, stylized wording, and elements of the packaging used with Counterfeit

  Products were intentionally designed to simulate Ferrara’s packaging for its NERDS and TROLLI

  candies in that the colors and words are displayed in the substantially identical layout and position,

  providing the immediate commercial impression that the Counterfeit Products emanate from or

  are associated with Ferrara and its genuine candy products.

            62.   Akimov’s use of imitations of the Ferrara Trade Dress for the packaging of its

  Counterfeit Products is intentionally designed to deceive consumers into believing that the

  Counterfeit Products are manufactured or authorized by Ferrara, thereby causing confusion as to

  the source and origin of the Counterfeit Products, which constitutes trade dress infringement under

  15 U.S.C. § 1125.

            63.   Akimov’s acts greatly and irreparably damage Ferrara and will continue to so

  damage Ferrara unless restrained by this Court; wherefore, Ferrara is without an adequate remedy

  at law.

                             SIXTH CLAIM FOR RELIEF
              TRADE DRESS INFRINGEMENT OF NERDS ROPE TRADE DRESS
                         (IN VIOLATION OF 15 U.S.C. § 1114)

            64.   Ferrara re-alleges paragraphs 1 through 11, 17 through 24 and 28 through 33 as if

  fully set forth herein.

            65.   For years, Ferrara has owned protectable rights in the NERDS ROPE Trade Dress,

  which is distinctive and not functional.




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            66.   Prior to Akimov’s conduct that forms the basis for this Complaint, consumers had

  come to associate the distinctive “look and feel” of the rope-like cluster of sugared candies sold

  under the Ferrara Trademarks with the NERDS ROPE Trade Dress and the Ferrara Trade Dress.

            67.   Without Ferrara’s consent or authorization, Akimov has manufactured, marketed,

  sold, and distributed the Counterfeit Products, which bear imitations of the NERDS ROPE Trade

  Dress in the United States, including through its website.

            68.   The cluster of candies in a rope-like fashion used with Counterfeit Products and the

  Ferrara Trademarks were intentionally designed to simulate Ferrara’s NERDS ROPE candy in that

  the Counterfeit Products look identical, providing the immediate commercial impression that the

  Counterfeit Products emanate from or are associated with Ferrara and its genuine candy products.

            69.   Akimov’s use of imitations of the NERDS ROPE Trade Dress for the Counterfeit

  Products is intentionally designed to deceive consumers into believing that the Counterfeit

  Products are manufactured or authorized by Ferrara, thereby causing confusion as to the source

  and origin of the Counterfeit Products, which constitutes trade dress infringement under 15 U.S.C.

  § 1125.

            70.   Akimov’s acts greatly and irreparably damage Ferrara and will continue to so

  damage Ferrara unless restrained by this Court; wherefore, Ferrara is without an adequate remedy

  at law.

                           SEVENTH CLAIM FOR RELIEF
                               UNFAIR COMPETITION
                           (IN VIOLATION OF FLORIDA’S
             DECEPTIVE AND UNFAIR TRADE PRACTICES ACT § 501.201 et seq.)

            71.   Ferrara re-alleges paragraphs 1 through 33 as if fully set forth herein.

            72.   Without Ferrara’s consent, Akimov has appropriated for its own use the Ferrara

  Trademarks and Ferrara Trade Dress.
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            73.   On information and belief, Akimov’s manufacturing, marketing, sale, and

  distribution of the Counterfeit Products in the state of Florida have been committed deliberately

  and willfully, with knowledge of Ferrara’s exclusive rights and goodwill in the Ferrara Trademarks

  and Ferrara Trade Dress and with a bad faith intent to cause confusion and trade on Ferrara’s

  goodwill.

            74.   Akimov’s acts could adversely affect consumers in Florida.

            75.   Akimov’s acts constitute unfair trade practices in violation of the Florida Deceptive

  and Unfair Trade Practices Act (“FDUTPA”), Section § 501.204 et seq.

            76.   Akimov’s acts greatly and irreparably damage Ferrara and will continue to so

  damage Ferrara unless restrained by this Court; wherefore, Ferrara is without an adequate remedy

  at law.

                               EIGHTH CLAIM FOR RELIEF
                                      DILUTION
                      (IN VIOLATION OF FLORIDA STATUTE § 495.151)

            77.   Ferrara re-alleges paragraphs 1 through 33 as if fully set forth herein.

            78.   The Ferrara Trademarks are inherently distinctive, famous, and are widely

  recognized by the general consuming public of the United States and Florida as a designation of

  source of Ferrara’s confectionery products.

            79.   Akimov’s acts as described herein began after the Ferrara Trademarks became

  famous.

            80.   Akimov’s acts are likely to cause and have caused dilution by tarnishment and

  blurring of the famous Ferrara Trademarks in violation of Florida Statute § 495.151.

            81.   On information and belief, Akimov’s manufacturing, marketing, sale, and

  distribution of the Counterfeit Products bearing the Ferrara Trademarks in Florida have been

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  committed deliberately and willfully, with knowledge of Ferrara’s exclusive rights and goodwill

  in the famous Ferrara Trademarks and with a bad faith intent to cause dilution of the Ferrara

  Trademarks.

            82.   Akimov’s acts greatly and irreparably damage Ferrara and will continue to so

  damage Ferrara unless restrained by this Court; wherefore, Ferrara is without an adequate remedy

  at law.

                               NINTH CLAIM FOR RELIEF
                                 (UNFAIR COMPETITION
                        IN VIOLATION OF FLORIDA COMMON LAW)

            83.   Ferrara re-alleges paragraphs 1 through 33 as if fully set forth herein.

            84.   Without Ferrara’s consent, Akimov has appropriated for its own use the Ferrara

  Trademarks and Ferrara Trade Dress.

            85.   Akimov has used the Ferrara Trademarks and Ferrara Trade Dress in commerce in

  connection with the sale, offering for sale, distribution, and/or advertising of several cannabis-

  infused candy products. These acts have caused or are likely to cause confusion, mistake, or

  deception as to the source of origin, sponsorship, or approval of Akimov’s products that Akimov

  sells in that purchasers and others are likely to believe Ferrara authorizes and controls Akimov’s

  sale of the Infringing Products in Florida or that Akimov is associated with or related to Ferrara.

            86.   Akimov’s acts are likely to injure and, on information and belief, have injured

  Ferrara’s image and reputation with consumers in the United States by creating confusion about

  the Counterfeit Products.

            87.   On information and belief, Akimov’s manufacturing, marketing, sale, and

  distribution of the Counterfeit Products bearing the Ferrara Trademarks and Ferrara Trade Dress

  in Florida have been committed deliberately and willfully, with knowledge of Ferrara’s exclusive


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  rights and goodwill in the Ferrara Trademarks and Ferrara Trade Dress and with a bad faith intent

  to cause confusion and trade on Ferrara’s goodwill.

            88.   Akimov’s acts constitute unfair competition in violation of Florida common law.

            89.   Akimov’s acts greatly and irreparably damage Ferrara and will continue to so

  damage Ferrara unless restrained by this Court; wherefore, Ferrara is without an adequate remedy

  at law.


                                          PRAYER FOR RELIEF

            WHEREFORE, Ferrara prays that this Court:

            1.    Enter judgment that Akimov has violated the Lanham Act, 15 U.S.C. §§ 1114,

   1125; Florida Statutes §§ 491.151 and 501.201 et seq.; and Florida common law, and that such

   violations were willful and intentional, making this an exceptional case;

             2.   Issue a permanent injunction enjoining and restraining Akimov, its successors,

   assigns, affiliates, subsidiaries, officers, employees, agents, representatives, and all others in

   active concert or participation with it, from directly or indirectly engaging in (a) any further

   counterfeiting of the Ferrara Trademarks; (b) any further trademark infringement, trademark

   dilution, trade dress infringement, unfair competition, or deceptive business practices, including

   making, offering for sale, distributing, or selling any products that feature the Ferrara Trademarks

   and/or Ferrara Trade Dress or colorable imitations thereof; and (c) doing any other act calculated

   or likely to induce or cause confusion or the mistaken belief that Akimov or its products are in

   any way affiliated, connected, or otherwise associated with Ferrara and its products;

             3.          Require Akimov, and all others holding by, through or under Akimov, be

   required, jointly and severally, to:

                  a.     account for and pay over to Ferrara all profits derived by Akimov from its
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                    acts of trademark counterfeiting, trademark infringement, trade dress

                    infringement, dilution, and unfair competition in accordance with 15 U.S.C.

                    § 1117(a) and Florida Statute § 495.141, and Ferrara asks that this award be

                    trebled in accordance with 15 U.S.C. § 1117(a);

              b.    pay statutory damages in the amount of $2,000,000 per counterfeit mark

                    per type of good sold, offered for sale, or distributed for Akimov’s willful

                    counterfeiting of the Ferrara Trademarks, in accordance with 15 U.S.C.

                    § 1117(c)(2);

              c.    pay to Ferrara the costs of this action, together with reasonable attorneys’

                    fees and disbursements, in accordance with 15 U.S.C. § 1117(a) and

                    Florida Statute § 495.141;

              d.    pay to Ferrara any pre-judgment interest on all damages;

              e.    destroy all of the Counterfeit Products in their possession, including

                    packaging, and any advertising, marketing, or promotional materials for

                    the Infringing Products, in accordance with 15 U.S.C. § 1118 and Florida

                    Statute § 495.141;

              f.    send a notice to any existing customers that the importation, dealing in,

                    sale, marketing, or distribution of the Counterfeit Products, is unlawful and

                    that Akimov has been enjoined by a United States District Court from

                    doing so; and

              g.    file with the Court and serve on Ferrara an affidavit setting forth in detail

                    the manner and form in which Akimov has complied with the terms of the

                    injunction, in accordance with 15 U.S.C. § 1116.


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        3.    Ferrara have such other and further relief as the Court deems just and equitable.



                                              /s/ Maria H. Ruiz
   Dated: May 23, 2022
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